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             IN THE UNITED STATES COURT FOR THE DISTRICT OF UTAH
                                  CENTRAL DIVISION




 UNITED STATES OF AMERICA,
          Plaintiff,                                MEMORANDUM DECISION AND
                                                    ORDER RE: MOTIONS IN LIMINE
                                                    ON CO-CONSPIRATOR
                                                    STATEMENTS AND
                                                    DEFENDANT’S STATEMENTS


                  vs.


 SALVADOR RAMERIZ and MIGUEL                        Case No. 2:09-CR-784 TS
 ANGEL CHAVEZ,
          Defendants.




       There are two related motions before the Court. First, Defendant Rameriz moves

to exclude admission of co-conspirator statements which refer directly or indirectly to him

or which otherwise incriminate him.1 He argues that for such statements to be admissible,

the government must establish the elements for admissibility under Fed. R. Evid.

801(d)(2)(E). That subsection defines as “not hearsay” and an “admission by a party

opponent” “a statement by a coconspirator of a party during the course and in furtherance



      1
        Defendant’s Motion is docketed twice, as Nos. 251 and 263. Docket No. 263
will be denied as moot.

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of the conspiracy.”2

       In order to be admissible as a co-conspirator statement under 801(d)(2)(E):
       The court must determine that (1) by a preponderance of the evidence, a
       conspiracy existed, (2) the declarant and the defendant were both members
       of the conspiracy, and (3) the statements were made in the course of and
       in furtherance of the conspiracy.3

       “In furtherance” means that the statements “are intended to promote the

conspiratorial objectives.”4 Statements that describe the role of one conspirator in

relationship to another conspirator are “in furtherance” of the conspiracy.5

       The trial witness need not be a co-conspirator, so it does not matter whether
       [the trial witness] was a co-conspirator when she heard the statements
       because Anderson was a co-conspirator. But, the fact that [the trial witness]
       was initially a peripheral player (although she was later charged with
       conspiracy to distribute drugs) makes it harder for the government to
       establish the third, “in furtherance” element. Statements that describe the
       role of one conspirator in relationship to another conspirator are “in
       furtherance” of the conspiracy. It seems doubtful that the conspirator’s
       explanation of the players involved in a conspiracy to an unconnected
       bystander is “in furtherance” of the conspiracy.6

       Defendant argues that a determination of the admissibility of such alleged co-

conspirator statements should be made before the statements are presented to the jury.

       The government acknowledges that it has the burden of establishing the


       2
           Fed. R. Evid. 801(d)(2)(E).
       3
           Id.
       4
      United States v. Rivera-Carrera, 2010 Wl 2926543 * 5 (10th Cir. Jul. 28, 2010).
The Court finds this slip opinion to be persuasive on issues before the Court in this trial.
       5
        Id. (quoting United States v. Reyes, 798 F.2d 380, 384 (10th Cir. 1986) (internal
citations omitted)).
       6
        Id. (citing United States v. Williamson, 53 F.3d 1500, 1520 (10th Cir. 1995)
(further citation and footnote omitted).

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admissibility of Defendants’ statements, and argues that the statements may be admissible

under more than one exception as set forth in its own Motion in Limine seeking to admit

Defendant’s statements. The government argues that “absent specific pre-trial objections

by defendants to specific out-of-court statements, . .. . the court [should] decline

defendant’s invitation for a pre-trial review of all witness testimony” and instead admit or

exclude it at trial in accordance with the Federal Rules of Evidence.

       The government’s position is undermined by the fact that holding a pretrial James7

hearing to determine the admissibility of evidence under rule 801(d)(2)(E) is the “strongly

preferred approach” as explained in United States v. Aguilera-Meza:8

       while we have reiterated “our strong preference” for James hearings when
       the prosecution relies on co-conspirator statements, a James hearing is not
       required. In the alternative to holding a James hearing, a district court may
       properly admit a co-conspirator statement “by provisionally admitting the
       statement with the caveat that the party offering it must prove the existence
       of the predicate conspiracy through trial testimony or other evidence.” The
       trial court retains some discretion in choosing between these alternatives.9

       However, as also noted in Aguilera-Meza, a James hearing must be timely

requested. In Aguilera-Meza, the Tenth Circuit held that a request for a separate James

hearing the day before trial was not timely. In this case, the logistics of the number of

Defendants make it difficult to schedule a hearing without some notice. In the present



       7
           See United States v. James, 590 F.2d 575 (5th Cir. 1979).
       8
           329 Fed.Appx. 825 (10th Cir. 2009).
       9
      Aguilera-Meza, 329 Fed. Appx. at 832-833 (quoting United States v.
Gonzalez-Montoya, 161 F.3d 643, 648-49 (10th Cir. 1998) and United States v.
Townley, 472 F.3d 1267, 1273 (10th Cir. 2007)).

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case, Defendant’s Motion was filed four work days10 before trial making it impossible to

hold a separate James hearing in advance of trial. However, as more fully set forth below

in connection with the government’s Motion, issues of admissibility of evidence raise

several interrelated and complicated issues. Therefore, the Court finds that there should

be a written proffer of the co-conspirator’s and Defendants’ statements and the

government’s asserted basis for their admissibility prior to the testimony. Therefore, the

Court will reserve ruling on Defendant’s Motion in Limine to Preclude Admission of Co-

conspirator Statements until trial.

       The government’s Motion in Limine seeks an order that Defendants’ statements

made to fellow inmates are admissible as to the speaker and his co-defendant and may

be offered into evidence by the government in its case-in-chief.

       The government proffers that two types of statements are admissible. The first type

are alleged statements made after the arrests by a Defendant to a co-Defendant in the

nature of threats or intimidation. The government proffers that these are non-hearsay

admission by a party-opponent under Fed. R. Evid. 801(d)(2)(A).

       The second type are the statements made by one defendant to a non-defendant

witness while they were inmates together. The government contends that these second

statements do not implicate the Fifth Amendment because they are not the result of a

custodial interrogation. The government also argues that as found in United States v.




       10
            November 11, 2010, was a federal holiday.

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Smalls,11 such statements between inmates are “clearly non-testimonial” and under

Crawforth v. Washington12 and Whorton v. Bockting,13 they do not implicate the

Confrontation Clause and may be admitted even if they lack indicia of reliability.

      The government is partially correct. If a foundation similar to that shown in Smalls

establishes that the character of the statements between the inmates is non-testimonial,

the Confrontation Clause is not implicated.14 However, as Smalls further explains,

      Because “only [testimonial] statements . . . cause the declarant to be a
      ‘witness’ within the meaning of the Confrontation Clause,” and because
      Cook’s statement is nontestimonial, Fed.R.Evid. 804(b)(3) determines its
      admissibility, subject, of course, to Rule 403's balancing test.15

Thus, admissibility must also be determined under Rule 804(b)(3). As shown in Smalls,

this can be a complex issue:

      [In Williamson, the] Court rejected the view “that an entire narrative, including
      non-self-inculpatory parts (but excluding the clearly self-serving parts . . .)
      may be admissible if it is in the aggregate self-inculpatory.” Rather, in the
      Court's opinion:
              [T]he most faithful reading of Rule 804(b)(3) is that it does not
              allow admission of non-self-inculpatory statements, even if
              they are made within a broader narrative that is generally

      11
           605 F.3d 765 (10th Cir. 2010).
      12
           541 U.S. 813 (2006).
      13
           549 U.S. 406, 420 (2007).
      14
        Smalls, 605 F.3d at 778-79 (holding that “We focus our attention not on the
nature of CI's questions, but on the nature of [the defendant’s] responses, because as
the Supreme Court teaches in Davis, ‘even when interrogation exists, it is in the final
analysis the declarant's statements, not the interrogator's questions, that the
Confrontation Clause requires us to evaluate.’”) (quoting Davis v. Washington, 547 U.S.
813, 822-23 n. 1 (2006).
      15
           Id. at 779 (quoting Davis, 547 U.S. at 821)).

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                self-inculpatory. The district court may not just assume for
                purposes of Rule 804(b)(3) that a statement is self-inculpatory
                because it is part of a fuller confession and this is especially
                true when the statement implicates someone else.

      The [Williamson] Court noted “[t]he fact that a statement is self-inculpatory
      does make it more reliable,” but “the fact that a person is making a broadly
      self-inculpatory confession does not make more credible the confession's
      non-self-inculpatory parts.” In directing district courts to exclude
      self-exculpatory portions of otherwise self-inculpatory statements, the Court
      moreover explained: “Self-exculpatory statements are exactly the ones which
      people are most likely to make even when they are false; and mere proximity
      to other, self-inculpatory, statements does not increase the plausibility of the
      self-exculpatory statements.”16

                                              ***

      The Court explained that “whether a statement is self-inculpatory ... can only
      be determined by viewing it in context:” “The question under Rule 804(b)(3)
      is always whether the statement was sufficiently against the declarant's
      penal interest” as the Rule objectively defines that phrase. And that depends
      not only on the contextual wording of the statement itself but also on the
      circumstances under which it was made.


      Thus, this Court must carefully analyze the proffered statements by the Defendants

to the inmate “accordance with Rule 804(b)(3) and Williamson to separate [a Defendant’s]

admissible from his inadmissible remarks.”17 To do so, this Court must

      first determine what parts of [Defendant’s] extended confession are
      sufficiently against his penal interest and therefore admissible under
      Fed.R.Evid. 804(b)(3). The court should then subject those selected
      statements not only to Rules 401 and 402's relevancy requirements, but also




      16
       Id. at 781 (quoting Williamson v. United States, 512 U.S. 594, 598-99,
601(1994) (some alternations, additional quotations, and footnotes omitted).
      17
           Id. at 784 (finding error in trial courts to so analyze and separate statements).

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       to Rule 403's balancing test.18

       Obviously, this is a complex task best not performed in front of the jury. An after-

the-fact attempt to parse out one or more of several related statements as not admissible

would be difficult for the jury and possibly prejudicial for the Defendants. In Smalls, the

issue was decided pursuant to a pre-trial order seeking admission of the accomplice’s

statement to confidential informant. In the present case, there is also a Motion seeking

a pre-trial order on admission of the Defendants’ statements to another inmate. However,

in the present case there is insufficient information to make the required determinations.

It is therefore

       ORDERED that Defendant Ramirez’s Motion in Limine to Preclude Admission of Co-

Conspirator Hearsay Statements (Docket No. 251) and the government’s Motion in Limine

Regarding Defendants’ Statements are RESERVED FOR TRIAL. It is further

       ORDERED that the government shall submit the anticipated statements covered by

its Motion together with a proffer of the basis of their admissibility by Monday, November

15, 2010 at 8:00 a.m. Defendant shall have until Tuesday, November 16, 2010, at 8:00

a.m. to file any response.

       DATED November 12, 2010.

                                          BY THE COURT:


                                          _____________________________________
                                          TED STEWART
                                          United States District Judge


       18
            Id. at 786-87.

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